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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               VICTORIA DIVISION

                                            §
In re:                                      §
                                            §
Buccaneer Resources, LLC, et al,            § CIVIL ACTION NO. 6:16-CV-00039
   Debtors                                  § CIVIL ACTION NO. 6:16CV-00053
                                            §
                                            §
                                            §

                            ADVISORY TO THE PARTIES

By United States District Court Southern District of Texas General Order No. 2017-18

entered September 26, 2017, this case filed in the Victoria Division of this Court will be

heard by the undersigned. When trials or hearings in the Victoria Division cases are

necessary, they will be heard at the U.S. Courthouse, 312 S. Main, Room 406, Victoria

Texas 77901.

          SIGNED this 27th day of November, 2017.




                                            ___________________________________
                                            Hayden W. Head, Jr.
                                            Sr. United States District Judge




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